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&lt;p&gt;&lt;font size="+1"&gt;&lt;strong&gt;&lt;center&gt;TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN&lt;/strong&gt;&lt;/font&gt;&lt;/center&gt;


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&lt;strong&gt;&lt;center&gt;NO. 03-00&lt;a name="1"&gt;&lt;/a&gt;-00&lt;a name="2"&gt;710&lt;/a&gt;-CV&lt;/center&gt;
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&lt;strong&gt;&lt;center&gt;&lt;a name="3"&gt;In re Odessa Tannehill and Danny Dorris&lt;/a&gt;&lt;/center&gt;
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&lt;center&gt;ORIGINAL PROCEEDING FROM TRAVIS COUNTY&lt;a name="5"&gt;&lt;/a&gt;&lt;a name="6"&gt;&lt;/a&gt;&lt;/center&gt;
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&lt;/strong&gt;&lt;strong&gt;PER CURIAM&lt;/strong&gt;

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&lt;p&gt;	Relators Odessa Tannehill and Danny Dorris have filed a petition for writ of
mandamus.  We deny the petition.

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&lt;p&gt;Before Chief Justice Aboussie, Justices B. A. Smith and Patterson

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&lt;p&gt;Filed:   November 13, 2000

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&lt;p&gt;Do Not Publish
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